Case 2:19-cv-01133-PSG-GJS Document 26 Filed 03/27/19 Page 1 of 2 Page ID #:86



 1   KAMBERLAW, LLP
     Michael Aschenbrener (SBN 277114)
 2   masch@kamberlaw.com
 3   9404 Genesee Ave, Suite 340
     La Jolla, CA 92037
 4   Telephone: (303) 222-0281
     Facsimile: (858) 800-4277
 5
 6   SHERMANOLAW
     David B. Shemano (SBN 176020)
 7   dshemano@shemanolaw.com
     1801 Century Park East, Suite 1600
 8   Los Angeles, CA 90067
 9   Telephone: (310) 492-5033

10   Attorneys for Plaintiff M. Papadopoulos
     Dental Corporation and the Classes
11
12                       UNITED STATES DISTRICT COURT
13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15   M. Papadopoulos Dental                       Case No. 2:19-cv-1133-PSG-GJS
     Corporation, a California corporation,
16   individually and on behalf of all others     Assigned to: Hon. Philip S. Gutierrez
17   similarly situated,
                                                  PLAINTIFF’S RESPONSE TO
18                             Plaintiff,         ORDER TO SHOW CAUSE
19   v.                                           Complaint Filed: February 14, 2019
                                                  Answer Filed: None
20   ICP, Inc. d/b/a Dental City, a               Trial Date: None
21   Delaware corporation,
22                             Defendant.
23
24
25   ///
26   ///
27   ///
28
     PLAINTIFF’S RESPONSE TO                -1-
     ORDER TO SHOW CAUSE
Case 2:19-cv-01133-PSG-GJS Document 26 Filed 03/27/19 Page 2 of 2 Page ID #:87




 1           Plaintiff served the Defendant the Summons, Complaint, Exhibits, Notice to
 2   Parties of Court Directed ADR Program, and Notice of Assignment to United States
 3   Judges on February 19, 2019, as evidenced by the Proof of Service filed with the Court
 4   on February 19, 2019 and designated as ECF 12 in this action.
 5           Subsequently, Wisconsin counsel for Defendant contacted counsel for Plaintiff.
 6   The parties are currently engaged in informal discovery and good faith early resolution
 7   discussions.
 8           Counsel for Plaintiff, via email, granted Defendant a 28-day extension, up to
 9   and including April 9, 2019, to respond to the Complaint in order to facilitate these
10   discussions without Defendant yet needing to hire local counsel or otherwise expend
11   extra resources.
12           For the foregoing reasons, Plaintiff M. Papadopoulos Dental Corporation is not
13   requesting an entry of default against Defendant ICP, Inc. d/b/a Dental City at this
14   time.
15
16   Dated: March 27, 2019                  M. PAPADOPOULOS DENTAL
                                            CORPORATION, individually and on behalf
17                                          of all others similarly situated,
18
19                                          By: /s/ Michael Aschenbrener
                                            Michael Aschenbrener
20                                          One of Plaintiff’s Attorneys
21
                                            Counsel for Plaintiff and the Putative Classes
22
23
24
25
26
27
28
      PLAINTIFF’S RESPONSE TO               -2-
      ORDER TO SHOW CAUSE
